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Form CLOSBKN (10/09)
                                               United States Bankruptcy Court
                                                Western District of Michigan
                                                    One Division Ave., N.
                                                          Room 200
                                                   Grand Rapids, MI 49503


 IN RE: Debtor (name used by the debtor in the last 8 years,
 including married, maiden, trade, and address):
                                                                        Case Number 21−00961−jtg
          RI−VAL−RE GENETICS, LLC
          4765 Moyer Road                                               Chapter 7
          Webberville, MI 48892
          Tax ID: 47−4436777                                            Honorable John T. Gregg

                                                            Debtor



                                    NOTICE OF CHAPTER 7 CASE CLOSED
                                           WITHOUT DISCHARGE



   All creditors and parties in interest are notified that the above−captioned case has been closed without
entry of discharge for the reason(s) indicated below.

         The debtor(s) are not eligible for discharge pursuant to Section 727(a)(8) of the Bankruptcy
         Code.




Dated: July 2, 2021
1 Aliases for Debtor RI−VAL−RE GENETICS, LLC : aka Ri−Val−Re Genetics
